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 8                        UNITED STATES DISTRICT COURT

 9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

10   Amazon Content Services, LLC, et al.,         Case No. 2:18-cv-3325 MWF-AS

11                Plaintiffs,                      PROPOSED ORDER
                                                   GRANTING CORRECTED
12         vs.                                     MOTION FOR WITHDRAWAL
                                                   OF JOSEPH SHAPIRO AS
13   Set Broadcast, LLC, et al.,                   COUNSEL FOR DEFENDANTS

14                Defendants.

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17        Having considered attorney Joseph Shapiro’s Corrected Motion for Withdrawal

18 of Joseph Shapiro as Counsel for Defendants, and finding good cause, the Court

19 hereby grants Mr. Shapiro’s motion to withdraw. Mr. Shapiro is no longer counsel for

20 any Defendants in this case.

21      IT IS SO ORDERED.
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 Case 2:18-cv-03325-MWF-AS Document 40-1 Filed 03/11/19 Page 2 of 2 Page ID #:190



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        Dated:
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        ______________________ ___________________________________
 4                             Hon. Michael W. Fitzgerald
                               United States District Court Judge
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